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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530




                                                            July 15, 2021

Paul Riddle
Brandon Jaroch
Assistant Federal Public Defenders
Federal Public Defender
District of Nevada
Attorneys for Daniel Rodriguez


       Re:      United States v. Daniel Rodriguez
                Case No. 21-CR-246
                Discovery Letter #2

Dear Counsel:

       We are writing to update you with additional discovery that has been provided for this
case on July 15, 2021 via a shared folder on USA File Exchange, that contains the following
materials:
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•   FBI Documents Folder:




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   •   Grand Jury Materials Folder:

   -   Two PDFs of grand jury transcripts: 03.10.21 and 03.24.21
   -   Grand Jury Exhibits 1-21, except Exhibit 7

Please note that the following materials have been designated as highly sensitive materials and
are subject to the Protective Order Governing Discovery that was issued by the Court in each
case:
    • Highly Sensitive Materials Folder:

   -   Grand Jury Exhibit 7
   -   Memorandum from Architect of the Capitol

Please note that the following materials have been designated as sensitive materials and are
subject to the Protective Order Governing Discovery that was issued by the Court in each case:

   •   Sensitive Materials Folder:




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   •   Body Worn Camera Materials

       In addition, pursuant to our discovery obligations, we are providing download links to 111
body worn camera (“BWC”) files listed in the Excel spreadsheet that was provided to you today
via email. The links should last for a year, please download before then.

        Please note that this list is over-inclusive, as it includes potentially relevant BWC videos
for this and other Lower West Terrace related cases. Out of an abundance of caution, we are
making all of these BWC videos accessible to the defense so that you can analyze whether they
might be relevant to your defense.

       We continue to identify additional BWC related to the Lower West Terrace and will
provide an additional round of potentially relevant BWC. To the extent you identify other officers
with BWC that you believe might be relevant to the case, please let us know and we will do what
we can to provide that BWC if it exists. In addition, my understanding is that the office is working
to develop a system to make BWC available on a broader level in the coming months.

                                              ******

      We will forward additional discovery as it becomes available. If you have any questions
about the information provided above or if you have any issues accessing or downloading the
materials provided, please contact the undersigned Assistant United States Attorneys.


                                                     Sincerely,



                                                     TARA RAVINDRA
                                                     RISA BERKOWER
                                                     KIMBERLY PASCHALL
                                                     Assistant United States Attorneys
Enclosures




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